                      Case 3:21-mj-00123-RAR Document 1 Filed 02/05/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      District District
                                                  __________   of Connecticut
                                                                        of __________

                  United States of America                         )
                             v.                                    )
           CALVIN ROBERSON, a.k.a. "Cutty"
                                                                   )      Case No.
                                                                   )                        123 (TOF)
                                                                                     3:21MJ ____
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              December 5 through 26, 2020       in the county of               Hartford                  in the
                       District of           Connecticut       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. §§ 1201(a)(1), 1201(c),               kidnapping resulting in death; conspiracy to commit kidnapping; and causing
and 924(j)                                      the death of a person through the use of a firearm




         This criminal complaint is based on these facts:
See attached affidavit of Dennis DeMatteo, TFO, FBI




         u Continued on the attached sheet.
                                                                                                          Digitally signed by Dennis
                                                                           Dennis DeMatteo DeMatteo
                                                                                           Date: 2021.02.05 12:41:14 -05'00'
                                                                                              Complainant’s signature

                                                                                        Dennis DeMatteo, TFO, FBI
                                                                                               Printed name and title

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WHOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV 
                                                                          /S/ TOF           Date: 2021.02.05
Date:          02/05/2021                                            XXXXXXXXXXXXXXXX       12:58:06 -05'00'
                                                                                                 Judge’s signature

City and state:                      Hartford, Connecticut                                    Thomas O. Farrish
                                                                                               Printed name and title
